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                                                                                 COMMITTEE       2 MEMBERS
                                                                                           AND ITS of 6




      ESG sustainability / Corporate governance / Committees



                                         Technical Committee
   The Technical Committee (TC) defines and implements FUNO’s corporate strategy. It
     is composed of 12 experts, 5 of which are independent members. Please click on
                               their names for further info.




                     Moisés El-Mann Arazi                                   André El-Mann Arazi
                              (Chairman)                                      (Chief Executive Officer)




                      Max El-Mann Arazi                                       Abud Attié Dayán




                     Isidoro Attié Laniado                                     Elías Sacal Micha




                     Jaime Kababie Sacal                                   Rubén Goldberg Javkin
                                                                                   (Independent)




              Ignacio Trigueros Legarreta                                Herminio Blanco Mendoza
                            (Independent)                                          (Independent)




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                                                                                 COMMITTEE       3 MEMBERS
                                                                                           AND ITS of 6




                                                      Antonio Franck Cabrera
                                                                  (Independent)




   As a policy in FUNO, our TC member’s assignment is honorary and does not give
   them any rights to receive compensation of any kind. However, we do give our
   independent members a small compensation for their services and support; this is
   decided by the CBFI Holder’s Assembly at the time of their designation or
   ratification. The responsibilities of the Chairman and the CEO are separated.

   42% of the Technical Committee are independent members and 91.7% are non-
   executive board members; which means they are not employees of the company. like
   our chairman, who is not an employee on FUNO’s payroll.
   From its creation, our Committee pursues the highest ethical, integrity and
   accountability standards. FUNO complies with all legal dispositions, as well as with
   the best international practices, where we also oversee Human Rights compliance
   and good labor practices.

   The TC, as well as the executive team and all our employees, must comply with our
   Code of Ethics and we expect from them equal and ethical performance.
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                                                                                 COMMITTEE       4 MEMBERS
                                                                                           AND ITS of 6


                                              Some duties of the TC are:


                                     1                                                2


           In certain cases, naming of the                              Establishing distribution            Nami
           Manager (with Practices                                      politics and approval of             Comm
           Committee opinion).                                          distributions that exceed 95%
                                                                        of the financial period.


                                    5                                                 6


           Naming a setter in case of                                   Defining and implementing            Estab
           events that detonate trust’s                                 FUNO’s corporate strategy,           eligib
           ending.                                                      overseeing performance,              comm
                                                                        establishing objectives and
                                                                        management policies; always
                                                                        promoting the creation of
                                                                        sustainable long-term value
                                                                        for our stakeholders.


                                    9                                                10


           Approving leverage policies                                  Analyzing and approving any          Prese
           (after first fiscal exercise)                                transaction outside of               Holde
           proposed by the manager.                                     eligibility criteria.                of TC
                                                                                                             opinio
                                                                                                             Comm


                                    13                                               14


           Establishing accountability                                  Approving financial results          Estab
           policies with the Audit                                      based on the Audit                   inves
           Committee’s opinion.                                         Committee’s opinion, to be
                                                                        presented to the CBFI Holder
                                                                        Assembly.


                                    17                                               18


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                                                                                 COMMITTEE       5 MEMBERS
                                                                                           AND ITS of 6




       Technical Committee Experience

                                                                        


       Independent Members of the Technical Committee

                                                                        


       Conflict of interest mitigation mechanisms

                                                                        




     CONTACT

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     +52 (55) 4170 7070

     investor@fibrauno.mx


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     FAQs                                                                                                    
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                                                                                 COMMITTEE       6 MEMBERS
                                                                                           AND ITS of 6
     PRIVACY POLICY                                                                                                                    


                                                            


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                                     Antonio Dovali Jaime 70, Samara, Torre B, Piso 11 Santa Fe, CDMX 01219
    “Persona designada para proporcionar la información prevista en los artículo 69, 73, 84, 84 Bis y en los Títulos Cuarto y Quinto de las
          Disposiciones de Carácter General Aplicables a las Emisoras de Valores y a Otros Participantes del Mercado de Valores.”




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